                                 EXHIBIT
Case: 1:21-cv-03625 Document #: 1-1           "A" Page 1 of 15 PageID #:3
                                    Filed: 07/08/21
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 2 of 15 PageID #:4
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 3 of 15 PageID #:5
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 4 of 15 PageID #:6
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 5 of 15 PageID #:7
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 6 of 15 PageID #:8
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 7 of 15 PageID #:9
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 8 of 15 PageID #:10
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 9 of 15 PageID #:11
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 10 of 15 PageID #:12
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 11 of 15 PageID #:13
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 12 of 15 PageID #:14
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 13 of 15 PageID #:15
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 14 of 15 PageID #:16
Case: 1:21-cv-03625 Document #: 1-1 Filed: 07/08/21 Page 15 of 15 PageID #:17
